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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

UMG RECORDINGS, INC.,                     § No. 1:17-CV-365-DAE
CAPITOL RECORDS, LLC,                     §
WARNER BROS. RECORDS, INC.,               §
SONY MUSIC ENTERTAINMENT,                 §
ARISTA RECORDS, LLC, ARISTA               §
MUSIC, ATLANTIC RECORDING                 §
CORPORATION, CAPITOL                      §
CHRISTIAN MUSIC GROUP, INC.,              §
ELECKTRA ENTERTAINMENT                    §
GROUP, INC., FONOVISA, INC.,              §
FUELED BY RAMEN, LLC, LAFACE              §
RECORDS, LLC, NONESUCH                    §
RECORDS, INC., RHINO                      §
ENTERTAINMENT COMPANY,                    §
ROADRUNNER RECORDS, INC.,                 §
ROC-A FELLA RECORDS, LLC,                 §
TOOTH & NAIL, LLC, and ZOMBA              §
RECORDING, LLC,                           §
                                          §
       Plaintiffs,                        §
                                          §
vs.                                       §
                                          §
GRANDE COMMUNICATIONS                     §
NETWORKS, LLC,                            §
                                          §
       Defendant.                         §

  ORDER: (1) ADOPTING REPORT AND RECOMMENDATIONS (DKTS.
    ## 240, 241); (2) GRANTING PLAINTIFFS’ MOTION FOR PARTIAL
   SUMMARY JUDGMENT AS TO GRANDE’S DMCA SAFE HARBOR
 DEFENSE (DKT. # 127); (3) GRANTING IN PART AND DENYING IN PART
   GRANDE’S MOTION FOR SUMMARY JUDGMENT (DKT. # 140); (4)
 DENYING GRANDE’S MOTION FOR SANCTIONS (DKT. # 156); AND (5)
     DENYING PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                       AS TO LIABILITY (DKT. # 172).
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             Before the Court are two Report and Recommendations, both filed by

Magistrate Judge Andrew W. Austin on December 12, 2018. (Dkts. ## 240, 241.)

Pursuant to Local Rule CV-7(h), the Court finds this matter suitable for disposition

without a hearing. After careful consideration and review, the Court—for the

reasons that follow—(1) ADOPTS the Report and Recommendations (Dkts. ##

240, 241); (2) GRANTS Plaintiffs’ Motion for Partial Summary Judgment as to

Grande’s DMCA safe harbor defense (Dkt. # 127); (3) GRANTS IN PART AND

DENIES IN PART Grande’s Motion for Summary Judgment (Dkt. # 140); (4)

DENIES Grande’s Motion for Sanctions (Dkt. # 156); and DENIES Plaintiff’s

Motion for Summary Judgment as to Liability (Dkt. # 172).

                                  BACKGROUND

             Plaintiffs in this case are record companies that produce commercial

sound recordings and distribute them throughout the United States. (Dkt. # 1 at 2.)

Remaining Defendant Grande Communications Networks, LLC (“Grande”) is an

internet service provider (“ISP”), providing internet access to customers in Texas.

(Id.) Former Defendant Patriot Media Consulting, LLC (“Patriot”) provided and

continues to provide various management services to Grande. (Id. at 6.) Plaintiffs

originally filed suit against both Grande and Patriot. (Id. at 1.) Plaintiffs asserted

that Defendants received over one million notices of direct copyright infringement

allegedly committed by Grande’s customers. (Id. at 2, 11–12.) Plaintiffs allege
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that these customers directly infringed on Plaintiffs’ copyrights through the use of

various of file sharing applications, including BitTorrent. (Id. at 2, 8–12.)

Plaintiffs’ complaint asserted claims for secondary copyright infringement under

17 U.S.C. § 101 et seq. against both defendants, alleging Defendants continued to

provide infringing customers with internet access after receiving the notices of

infringement. (Id. at 13, 15, 17.)

             On April 19, 2017, Defendants filed separate motions to dismiss under

Federal Rule of Civil Procedure 12(b)(6). (Dkts. ## 28, 29.) On March 26, 2018,

the Court adopted a Report and Recommendation from Magistrate Judge Austin

recommending Patriot’s motion be granted in its entirety and Grande’s motion be

granted as to Plaintiffs’ claims for vicarious secondary infringement.1 (Dkts. ## 72

at 21; 77 at 3.) Patriot was thus dismissed as a defendant from this action. (See

id.) Therefore, the only remaining claim in this case is for contributory secondary

copyright infringement against Grande.




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  There are two recognized types of secondary infringement: contributory and
vicarious. Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 545 U.S. 913,
930 (2005). Contributory copyright infringement occurs where a defendant
“intentionally induc[ed] or encourag[ed] direct infringement.” Id. Vicarious
infringement occurs when a defendant “profits directly from the infringement and
has a right and ability to supervise the direct infringer, even if the defendant
initially lacks knowledge of the infringement.” Id. at 931 n.9.

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              On April 9, 2018, Grande filed their answer to the complaint. (Dkt.

# 80.) Among other affirmative defense, Grande pled the safe harbor provision of

the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 512(i). § 512(i)

protects ISPs like Grande from liability for the copyright infringement of their

customers if the ISP “has adopted and reasonably implemented, and informs

subscribers and account holders of the service provider’s system or network of, a

policy that provides for the termination in appropriate circumstances of subscribers

and account holders of the service provider’s system or network who are repeat

infringers[.]” 17 U.S.C. § 512(i)(1)(A).

              On August 8, 2018, Plaintiffs filed a motion for summary judgment as

to Grande’s affirmative defense of the DMCA safe harbor provision. (Dkt. # 127.)

On December 18, 2018, Judge Austin issued a Report and Recommendation (the

“Safe Harbor Report”) recommending Plaintiffs’ motion be granted as to the safe

harbor issue.2 (Dkt. # 241.) On January 23, 2019, Grande filed written objections.

(Dkt. # 251.) On January 23, 2019, Plaintiffs filed a response to Grande’s

objections.




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  On September 17, 2018, by order of the Court, the case was referred to
Magistrate Judge Austin. (Dkt. # 183.) And on October 30, 2018, the case was
reassigned to this Court by the Honorable Lee Yeakel. (Dkt. # 212.)

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             Additionally, on August 18, 2018, Grande filed a motion for summary

judgment as to the issues of liability and damages. (Dkt. # 140.) On September

11, 2018, in their response in opposition to Grande’s motion for summary

judgment, Plaintiffs cross moved for summary judgment as to liability. (Dkt.

# 172.) On December 18, 2018, Judge Austin issued a Report and

Recommendation (the “Liability Report”) recommending Grande’s motion for

summary judgment be granted as to Grande’s alleged liability for infringing

Plaintiffs’ reproduction rights under 17 U.S.C. § 106(1) and public performance

rights under 17 U.S.C. § 106(6). (Dkt. # 240.) The Liability Report also

recommends denying Grande’s motion in all other respects and denying Plaintiffs’

motion for summary judgment in its entirety. (Id.) Both Plaintiffs and Grande

filed objections to the Liability Report on January 9, 2019. (Dkts. ## 250, 252.)

Plaintiffs filed a response to Grande’s objections on January 23, 2019. (Dkt.

# 257.) Grande filed a response to Plaintiffs’ objections on the same day. (Dkt.

# 258.) On January 30, 2019, Plaintiffs filed a reply in support of their objections.

(Dkt. # 259.)

             The Safe Harbor Report and the Liability Report and the parties’

objections thereto are currently before the Court.




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                               LEGAL STANDARD

I.     Review of the Magistrate Judge’s Report and Recommendations

             Any party who desires to object to a Magistrate Judge’s findings and

recommendations must serve and file written objections within 14 days after being

served with a copy of the findings and recommendation. Fed. R. Civ. P. 72(b)(2).

The Court conducts a de novo review of any of the Magistrate Judge’s conclusions

to which a party has specifically objected. See 28 U.S.C. § 636(b)(1)(C) (“A judge

of the court shall make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection is made.”).

Findings to which no specific objections are made do not require de novo review;

instead, the Court need only determine whether the memorandum and

recommendation is clearly erroneous or contrary to law. United States v. Wilson,

864 F.2d 1219, 1221 (5th Cir. 1989). As the parties have timely filed objections to

the Magistrate Judges Report and Recommendations, the Court reviews de novo

those portions of the reports to which objections have been raised.

II.    Summary Judgment

             Summary judgment is proper if “there is no genuine dispute as to any

material fact” and the moving party “is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a); see also Meadaa v. K.A.P. Enters., L.L.C., 756 F.3d 875, 880

(5th Cir. 2014). A dispute is genuine only “if the evidence is such that a reasonable

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jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986).

             The moving party bears the initial burden of demonstrating the

absence of any genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986). If the moving party meets this burden, the nonmoving party must

come forward with specific facts that establish the existence of a genuine issue for

trial. Distribuidora Mari Jose, S.A. de C.V. v. Transmaritime, Inc., 738 F.3d 703,

706 (5th Cir. 2013) (quoting Allen v. Rapides Parish Sch. Bd., 204 F.3d 619, 621

(5th Cir. 2000)). “Where the record taken as a whole could not lead a rational trier

of fact to find for the non-moving party, there is no ‘genuine issue for trial.’”

Hillman v. Loga, 697 F.3d 299, 302 (5th Cir. 2012) (quoting Matsushita Elec.

Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).

             In deciding whether a fact issue has been created, the court must draw

all reasonable inferences in favor of the nonmoving party, and it “may not make

credibility determinations or weigh the evidence.” Tiblier v. Dlabal, 743 F.3d

1004, 1007 (5th Cir. 2014) (quoting Reeves v. Sanderson Plumbing Prods., Inc.,

530 U.S. 133, 150 (2000)). At the summary judgment stage, evidence need not be

authenticated or otherwise presented in an admissible form. See Fed. R. Civ. P.

56(c); Lee v. Offshore Logistical & Transp., LLC, 859 F.3d 353, 355 (5th Cir.

2017). However, “[u]nsubstantiated assertions, improbable inferences, and

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unsupported speculation are not sufficient to defeat a motion for summary

judgment.” United States v. Renda Marine, Inc., 667 F.3d 651, 655 (5th Cir. 2012)

(quoting Brown v. City of Hous., 337 F.3d 539, 541 (5th Cir. 2003)).

             Finally, when, as here, “parties file cross-motions for summary

judgment, [the court] review[s] each party’s motion independently, viewing the

evidence and inferences in the light most favorable to the nonmoving party.”

Green v. Life Ins. Co. of N. Am., 754 F.3d 324, 329 (5th Cir. 2014) (internal

quotation marks omitted) (quoting Duval v. N. Assur. Co. of Am., 722 F.3d 300,

303 (5th Cir. 2013)).

                                   DISCUSSION

I.    Report and Recommendation Regarding Plaintiff’s Motion for Partial
      Summary Judgment as to Grande’s Statutory Safe Harbor Defense

             In order to be entitled to the DMCA’s safe harbor protections, an ISP

must “adopt[] and reasonably implement[] . . . a policy that provides for the

termination in appropriate circumstances of subscribers and account holders . . .

who are repeat infringers[.]” 17 U.S.C. § 512(i)(1)(A). The Safe Harbor Report

recommends granting summary judgment to Plaintiffs because:

      [t]he undisputed evidence shows that though Grande may have adopted
      a policy permitting it to terminate a customer’s internet access for
      repeat infringement, Grande affirmatively decided in 2010 that it would
      not enforce the policy at all, and that it would not terminate any
      customer’s account regardless of how many notices of infringement
      that customer accumulated, regardless of the source of the notices, and
      regardless of the content of a notice.
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(Dkt. # 241 at 12.) Grande objects to this conclusion, asserting that “[t]here are

fact issues for trial regarding whether Grande ‘reasonably implemented’ its repeat

infringer termination policies” and “[t]here are triable issues of material fact

regarding the existence of ‘appropriate circumstances’ warranting termination.”

(Dkt. # 251 at 3, 7.) Because of Grande’s objections, the Court reviews this issue

de novo. 28 U.S.C. § 636(b)(1)(C) (“A judge of the court shall make a de novo

determination of those portions of the report or specified proposed findings or

recommendations to which objection is made.”).

             As a party asserting the affirmative defense of the DMCA’s safe

harbor, Grande “bears the burden of raising entitlement to the safe harbor and of

demonstrating that it has . . . taken the steps necessary for eligibility.” Capitol

Records, LLC v. Vimeo, LLC, 826 F.3d 78, 94 (2d Cir. 2016); see also Mavrix

Photographs, LLC v. Livejournal, Inc., 873 F3d 1045, 1052 (9th Cir. 2017)

(“Because the [§ 512(i)] safe harbor is an affirmative defense, [a defendant] must

establish ‘beyond controversy every essential element,’ and failure to do so will

render [a defendant] ineligible for the [§ 512(i)] safe harbor's protection.”).

             Grande argues that it has adopted an appropriate policy because since

2012 it has had a public-facing policy providing for the termination of infringing

subscribers. (Dkt. # 251 at 4.) The evidence in the record indicates the opposite.

Although Grande apparently stated publicly that its policy was to terminate
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infringing customers, Grande’s corporate representative testified that from 2010

through 2016, Grande did not have any specific policies or procedures providing

for how it would actually go about terminating any such infringing customers.

(Dkt. # 127-21, Ex. B at 8–9.) In internal emails, one Grande employee even

stated that “we have users who are racking up DMCA take down requests and no

process for remedy in place.” (Dkt. # 127-22, Ex. D.)

             Moreover, to be eligible for the DMCA safe harbor, an ISP must

“reasonably implement” a termination policy, not just adopt one. 17 U.S.C. §

512(i)(1)(A). And “an ISP has not ‘reasonably implemented’ a repeat infringer

policy if the ISP fails to enforce the terms of its policy in any meaningful fashion.”

BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d 293, 303 (4th Cir.

2018). Adopting a repeat infringer termination policy that is not “carried out is not

an ‘implementation’ as required by § 512(i).” In re Aimster Copyright Litig., 252

F. Supp. 2d 634, 659 (N.D. Ill. 2002), aff’d, 334 F.3d 643 (7th Cir. 2003). “[T]he

relevant question is whether [the ISP] actually terminates the uploading privileges

of repeat infringers under appropriate circumstances.” Capitol Records, LLC v.

Escape Media Grp., Inc., No. 12-CV-6646, 2015 WL 1402049, at *12 (S.D.N.Y.

Mar. 25, 2015).

             Prior to 2010, Grande enforced “a policy of turning off all subscribers

upon copyright violation notice, requiring the customer to then contact Grande to

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discuss the issue, understand what happened, inform the customer of why they’d

been shut off, and take appropriate action from there.” (Dkt. # 127-3, Ex. C at 12.)

However, beginning in October 2010, Grande’s practice of terminating customers

ceased (id. at 12–13.), and Grande did not terminate a single infringing customer

from October 2010 until May 2017 (Dkt. # 127-7, Ex. G at 6). Yet during that

period Grande received over a million copyright infringement notices, it was

tracking over 9,000 customers on its DMCA “Excessive Violations Report” by late

2016, and it specifically tracked users by the number of notices it received about

them. (Dkts. ## 127-9, Ex. I at 5; 127-3, Ex. C at 9.)

             In internal emails, Grande employees recognized that “we have some

customers that are up to their 54th notice[,]” yet “there is no ‘three strikes’ law or

anything that we follow like some ISPs.” (Dkt. # 127-22, Ex D.) Grande’s

corporate representative further admitted that until 2017 it would not terminate a

user for infringement “regardless of the source of any notice,” regardless of the

content of any notice,” and “regardless of the volume of notices . . . for a given

customer.” (Dkt. # 127-7, Ex. G at 6–7.) It was not until June 2017, two months

after the commencement of this litigation, that Grande terminated any customers,

and even then, it only terminated eleven customers in all of 2017. (Dkt. # 127-24,

Ex. H at 1–3.)




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             Such an utter failure to terminate any customers at all over a six-and-

a-half-year period despite receiving over a million infringement notices and

tracking thousands of customers as repeat infringers demonstrates that Grande

“made every effort to avoid reasonably implementing [its] policy” and “very

clearly determined not to terminate subscribers who in fact repeatedly violated the

policy.” BMG, 881 F.3d at 303 (emphasis in original). Comparing the facts in this

case to the facts in BMG is instructive on this point.

             In BMG, the defendant Cox Communications, Inc. (“Cox”) actually

had formal procedures in place that would lead to a customer’s termination. The

first copyright notice would result in no action. Id. at 299. The second through

seventh copyright notices related to a specific customer would result in Cox

sending a warning email to the customer. Id. After the eight and ninth notices,

Cox would require the customer to click an acknowledgment on their web browser

before being able to access websites. Id. After the tenth and eleventh notices, Cox

suspended service, requiring the customer to call a technician, who would

reactivate service only after advising the customer of the reason for suspension and

advising removal of any infringing content. Id. After the twelfth notice, the

account would again be suspended, requiring the customer to contact a specialized

technician before service would be reactivated. Id. And finally, after a thirteenth

notice, Cox would finally consider termination, though termination was not

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automatic. Id. Because this policy was laxly enforced and often circumvented, the

Fourth Circuit affirmed the district court’s ruling that Cox failed to qualify for the

DCMA safe harbor. Id. at 303.

             Grande argues that BMG is inapposite in this case because in BMG

Cox “failed to follow through on its own policy” because Cox internally concluded

that a subscriber should be terminated, but then declined to do so to preserve a

revenue stream. (Dkt. # 251 at 6 (quoting BMG, 881 F.3d at 293).) In this case, in

contrast, Grande argues, “there is no evidence that Grande ever internally

concluded that a particular subscriber should be terminated pursuant to Grande’s

public-facing policies, and then nevertheless declined to enforce that policy and

terminate the subscriber’s account.” (Id. at 7.)

             But in BMG, Cox at least had internal procedures that in theory could

lead to the termination of a customer, even if they were laxly enforced and often

circumvented. In this case, the evidence is clear that from at least 2011 until 2016

Grande had no internal policy or procedures whatsoever to enforce their forward-

facing statement that they would terminate customers for repeat infringements.

(Dkt. # 127-21, Ex. B at 8–9.) Grande admitted that until 2017 it would not

terminate a user for infringement “regardless of the source of any notice,”

regardless of the content of any notice,” and “regardless of the volume of notices . .

. for a given customer.” (Dkt. # 127-7 at 6–7.) And in fact Grande did not

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terminate a single infringing customer from October 2010 until May 2017 (Dkt.

# 127-7 at 6.) Unlike Cox, Grande did not even have a policy or procedures in the

first place for them to laxly enforce or frequently circumvent.

             Grande thus did even less than Cox to “reasonably implement” the

kind of policy required for the protections of DMCA’s safe harbor. If lax

enforcement and frequent circumvention of existent procedures disqualifies a

defendant from the safe harbor’s protections, the complete nonexistence of such

procedures surely must do likewise. Such a complete abdication of their

responsibilities to implement and enforce a policy terminating repeat copyright

infringers requires the Court to conclude that Grande is not entitled, as a matter of

law, to the safe harbor provisions of 17 U.S.C. § 512(i). See, e.g., Perfect 10, Inc.

v. CCBill LLC, 488 F.3d 1102, 1109 (9th Cir. 2007) (holding that implementation

“requires that a service provider terminate users who are ‘repeat infringer,’” and an

ISP must “terminate[] users who repeatedly or blatantly infringe copyright”);

Escape Media Grp., Inc., 2015 WL 1402949 at *10 (“[T]he relevant question is

whether the [ISP] actually terminates the uploading privileges of repeat infringers

under appropriate circumstances.”)

             Grande raises two additional arguments as to why summary judgment

should not be granted on this issue, each relating to alleged infirmities in some of

the infringement notices it received. Grande argues that because these notices

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were “incapable of identifying or giving notice of actual copyright infringement,

there are questions of fact as to whether it reasonably implemented a termination

policy in spite of never terminating any customers from 2010 to 2016.” (Dkt.

# 251 at 3–7.) Grande also argues, again because of the supposed flaws in these

notices, that there are triable questions of fact whether appropriate circumstances

existed warranting termination of any customers. (Id. at 7–8.)

             However, these arguments are unpersuasive for several reasons. First,

BMG also involved the same notices, generated by a company called Rightscorp,

that Grande objects to in this case. Cox argued that these notices “do not

necessarily prove actual knowledge of repeat infringement.” 881 F.3d at 304

(emphasis in original). But the Fourth Circuit held that “Cox’s decision to

categorically disregard all notices from Rightscorp provides further evidence that

Cox did not reasonably implement a repeat infringer policy.” Id. The Fourth

Circuit explained that Cox’s argument was misplaced because “Cox bears the

burden of proof on the DCMA safe harbor defense; thus, Cox had to point to

evidence showing that it reasonably implemented a repeat infringer policy.” Id. at

305. Grande is similarly unable to show such reasonable implementation, because

the evidence is undisputed that it failed to terminate any customers from 2010

through 2016, despite receiving over a million infringement notices and tracking

more than 9,000 customers as repeat infringers. (Dkts. ## 127-9 at 5; 127-3 at 9.)

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             Second, Grande’s argument that the Rightscorp notices failed to

demonstrate appropriate circumstances justifying termination is similarly

unpersuasive. This argument was also made by the defendant in BMG. 881 F.3d

at 305. But just as Cox did in BMG, Grande has:

      failed to provide evidence that a determination of “appropriate
      circumstances” played any role in its decisions to terminate (or not to
      terminate). [Grande] did not, for example, point to any criteria that its
      employees used to determine whether “appropriate circumstances” for
      termination existed. Instead, the evidence shows that [Grande's]
      decisions not to terminate had nothing to do with “appropriate
      circumstances” . . . .

Id. Grande admitted that it had no procedure in place from 2010 through 2016

providing for how it would actually go about terminating infringing customers.

(Dkt. # 127-21, Ex. B at 8–9.) Grande also admitted that until 2017 it would not

terminate a user for infringement “regardless of the source of any notice,”

regardless of the content of any notice,” and “regardless of the volume of notices . .

. for a given customer.” (Dkt. # 127-7 at 6–7.) And Grande did not terminate a

single infringing customer from October 2010 until May 2017 (Dkt. # 127-7, Ex. G

at 6.) This evidence indisputably shows that Grande’s “decisions not to terminate

had nothing to do with ‘appropriate circumstances’ . . . .” BMG, 881 F.3d at 305.

             Third, Grande’s own documents in the record reflect, contrary to the

arguments it now advances, that it took the Rightscorp and other notice as

affirmative evidence of infringement. In one April 2013 email exchange, a senior

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Grande official stated that “we have some customers who are up to their 54th

notice . . . [yet] there is no ‘three strikes’ law or anything that we follow like some

ISPs.” (Dkt. # 127-22, Ex. D.) As a result, the same official then asked, in the

same email: “Question – we have users who are racking up DMCA take down

requests and no process for remedy in place. I don’t know if I’m seeing a broken

process or compliance with the letter of the law. Do you guys have insight or

knowledge on this?” (Id.) In the ensuing conversation, another Grande manager

reported the following:

      Who is responsible for the DCMA notification process? Do we call
      customers?

      Bartlett just answered my email, and, as you said, they contact the
      customer and let them know they will disconnect them if they continue
      to receive those notice.

      If we do nothing more tha[n] emails (as I think you mentioned) we
      might lose our safe harbor status.

(Dkt. # 128-28, Ex. M at 2.) Other internal emails also demonstrate that Grande

viewed the notices as evidence that a customer had infringed a copyright. (See

Dkts. ## 127-17, Ex. Q; 127-30, Ex. R; 127-31, Ex. S.)

             Finally, Grande’s arguments related to the Rightscorp notices ignores

the hundreds of thousands, out of roughly 1.2 million notices of infringement

Grande received between 2011 and 2016 (Dkt. # 127-7, Ex. G at 10), came from

entities other than Rightscorp. In 2015, for example, out of 365,569 infringement

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notices received, 119,247, roughly one third, were received from other sources.

(Dkt. # 172-18, Ex. R at 2.) Grande has presented no summary judgment evidence

that these other notices are in any way unreliable.

             Even if the Court were to accept Grande’s arguments related to the

Rightscorp notices, the summary judgment evidence shows that Grande failed to

terminate a single customer despite the receipt of several hundred thousand other

copyright infringement notices. Therefore, summary judgment in favor of

Plaintiffs’ on this issue is still be appropriate because, as the DMCA safe harbor is

an affirmative defense, Grande carries the burden of demonstrating it is entitled to

raising it. See Capitol Records, LLC v. Vimeo, LLC, 826 F.3d 78, 94 (2d Cir.

2016) (holding that defendant “bears the burden of raising entitlement to the safe

harbor and of demonstrating that it has . . . taken the steps necessary for

eligibility”). Even ignoring the Rightscorp notices, with no evidence undermining

these hundreds of thousands of other notices, Grande has failed to carry this

burden.

             For these reasons, the Court ADOPTS the Safe Harbor Report. (Dkt.

# 241.) Plaintiffs’ Motion for Partial Summary Judgment as to the issue of

Grande’s entitlement to the affirmative defense of the DMCA safe harbor

provisions, 17 U.S.C. § 512(i), is therefore GRANTED. (Dkt. # 127.)




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II.     Report and Recommendation Regarding Parties’ Cross Motions for
        Summary Judgment as to Liability

        A.    Grande’s Motion for Summary Judgment

              Grande moved for summary judgment as to liability based on six

arguments: (1) Plaintiffs cannot prove direct infringement by Grande’s customer of

their distribution, reproduction, and public performance rights as copyright holders

(Dkt. # 140 at 4); (2) Plaintiffs cannot prove contributory liability (id. at 11);

(3) Plaintiffs cannot prove willful copyright infringement (id. at 18); (4) Plaintiffs

cannot prove that the discovery rule expands the statutory damages period (id. at

18); (5) Plaintiffs cannot prove actual damages or Grande’s profits from alleged

infringement (id. at 19); and (6) Plaintiffs cannot prove they own many of the

asserted copyrights (id.). In opposing Grande’s motion, Plaintiffs also moved for

summary judgment in their own favor on the issue of liability. (See Dkt. 172.)

              The Magistrate Judge’s Liability Report recommends granting Grande

summary judgment as to whether Grande’s customers violated Plaintiffs

reproduction or public performance rights, and thus whether Grande could be held

contributorily liable for such infringement. (Dkt. # 240 at 4 n.1.) In all other

respects, the Liability Report recommends denying both parties’ motions. (Id. at

20–21.) Grande objects on all six issues to the Liability Report’s recommendations

denying the motions. (Dkt. # 252.) Plaintiffs object to the Liability Report’s
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recommendations denying their cross motion on direct and contributory

infringement. (Dkt. # 250.) Plaintiffs also object to the Liability Report’s

recommendation to grant Grande summary judgment on their claim for Grande’s

contributory liability for violating their reproduction rights. (Id.) The Court

therefore reviews these issues de novo. See 28 U.S.C. § 636(b)(1)(C) (“A judge of

the court shall make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection is made.”)

The Court will review each of these issues in turn.

             1.     Direct Infringement by Grande’s Customers

             It is axiomatic that there can be no contributory copyright

infringement without there first being direct copyright infringement. See, e.g.,

A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 n.2 (9th Cir. 2001)

(“Secondary liability for copyright infringement does not exist in the absence of

direct infringement by a third party.”). Therefore, in order to prevail on their claim

against Grande for contributory infringement, Plaintiffs must prove direct

infringement committed by Grande’s customers.

             17 U.S.C. § 106 provides certain exclusive rights to the owners of

copyrights. As issue in this case are: (1) the right “to reproduce the copyrighted

work” under 17 U.S.C. § 106(1); (2) the right to “distribute copies . . . of the

copyrighted work” under 17 U.S.C. § 106(3); and (3) the right to perform . . .

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copyright[ed sound recordings] publicly by means of a digital audio transmission”

under § 106(6). (See Dkt. # 1 at 7.) “Anyone who violates any of the exclusive

rights of the copyright owner as provided by section[] 106 . . . is an infringer of the

copyright . . . .” 17 U.S.C. § 501(a).

             To establish direct copyright infringement, a plaintiff must show that

(1) he owns a valid copyright and (2) the defendant copied constituent elements of

the plaintiff’s work that are original. BWP Media USA, Inc. v. T&S Software

Assocs., Inc., 852 F.3d 436, 439 (5th Cir. 2017). To prove the second element,

copying, a plaintiff must prove (1) factual copying and (2) substantial similarity.

Baisden v. I’m Ready Prods., Inc., 693 F.3d 491, 499 (5th Cir. 2012). Factual

copying can be proved by either direct or circumstantial evidence. Armour v.

Knowles, 512 F.3d 147, 152 (5th Cir. 2007). Substantial similarity requires proof

that “the copyrighted expressions in the two works are sufficiently alike that the

copyright to the original work has been infringed.” Id.

             Grande moved for summary judgment on the issue of direct

infringement, arguing that Plaintiffs cannot prove: (1) substantial similarity;

(2) that any Grande subscriber violated the reproduction right using Grande’s

network; (3) that any Grande subscriber violated the distribution right through

Grande’s network; (4) direct infringement with respect to each asserted copyright;




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and (5) that a Grande subscriber violated the public performance right using

Grande’s network. (Dkt. # 140 at 8–14.)

                      i.      Public Performance and Reproduction

              As a threshold matter, the Liability Report recommends granting

summary judgment to Grande as to direct infringements by their customers of

Plaintiffs’ reproduction and public performance rights as set forth in 17 U.S.C.

§ 106(1) and 106(6) because Plaintiffs’ failed to respond to Grande’s summary

judgment arguments on these issues. (Dkt. # 240 at 4 n.1.) No objection was

raised by either party as to the Liability Report’s recommendation of granting

summary judgment as to the violation of public performance rights. Therefore, the

Court reviews this recommendation for clear error. United States v. Wilson,

864 F.2d 1219, 1221 (5th Cir. 1989). The Court concludes the Liability Report’s

recommendation on this issue is not clearly erroneous. See ContiCommodity

Servs. Inc., v. Ragan, 63 F.3d 438, 441 (5th Cir. 1995) (“In order to defeat a

properly supported motion for summary judgment, the nonmoving party must

direct the court’s attention to admissible evidence in the record which demonstrates

that it can satisfy a ‘fair-minded jury’ that it is entitled to a verdict in its favor.”).

              Moreover, “to perform or display a work ‘publicly’ means . . . to

transmit or otherwise communicate a performance or display of the work to [a

public place] or to the public . . . .” 17 U.S.C. § 101. Performance through a

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digital audio transmission only occurs where “there is a playing of the song that is

perceived simultaneously with the transmission.” United States v. ASCAP,

627 F.3d 64, 74 (2d Cir. 2010). Making a copyrighted work available for

downloading, or actual downloading of a copyrighted work, is not itself a

performance. See id. There is no evidence in record of any simultaneous

perception and transmission of the copyrighted works at issue in this case.

             However, Plaintiffs object to the Liability Report’s recommendation

to grant summary judgment to Grande as to violation of the right of reproduction.

Plaintiffs argue that they stated in their combined opposition and cross motion for

summary judgment that their claims involve both uploading and downloading of

copyrighted music, the latter of which would constitute an infringement of the

reproduction right. (Dkt. # 250 at 3.) However, a review of Plaintiffs’ argument in

which the referenced language is found makes it clear that their argument is

directed solely towards Grande’s argument related to violations of the right of

distribution. (See Dkt. # 172 at 16–23.) The language in the motion Plaintiffs now

attempt to rely on is merely their introductory statement of the law and is then

followed only by argument related to distribution. Plaintiffs’ motion does not

reference or respond to Grande’s argument related to reproduction.

             Further, Plaintiffs’ objections fail to respond to the substance of

Grande’s summary judgment argument. In this context, violation of a copyright

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holder’s right to reproduction involves downloading copyrighted material. See,

e.g., Maverick Recording Co. v. Harper, 598 F.3d 193, 197 (5th Cir. 2010);

Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1034 (9th Cir. 2013). But

Plaintiffs’ claims are based on notices and evidence that Grande subscribers made

copyrighted material available for download by others. Plaintiffs have not

presented any evidence, either on summary judgment or in their objections to the

Liability Report, that Grande subscribers downloaded or otherwise acquired the

copyrighted materials through Grande’s network, as opposed to any other of a

number of plausible—including some legal—means. There is no evidence at all

concerning the origin of the songs at issue. Without evidence of the origin of the

infringing music, there is no evidence the music was obtained in violation of

Plaintiffs’ right of reproduction, and thus no evidence of direct infringement

through illegal reproduction.3

                   ii.      Substantial Similarity

             Grande argues that proving a copyright infringement claim “requires a

side-by-side comparison of the copyrighted work and the allegedly infringing

work, so that the factfinder can assess whether they are ‘substantially similar.’”



3
  Because there is thus also no evidence subscribers obtained the infringing music
through Grande’s network, there is no evidence sufficient to support contributory
liability against Grande on the basis of infringement through reproduction.

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(Dkt. # 140 at 8.) The necessary implication of this argument is that to prove its

case Plaintiffs would have to play every song at issue for the jury, alongside the

allegedly identical copy or copies found on Grande’s customers’ computers.

Grande relies for this premise on language found in various decisions of the Fifth

Circuit. For instance, in Bridgmon v. Array Systems Corp., the court stated “the

law of this circuit prohibits finding copyright infringement without a side-by-side

comparison of the works.” 325 F.3d 572, 577 (5th Cir. 2003). In Creations

Unlimited, Inc. v. McCain, the court stated “[t]o determine whether an instance of

copying is legally actionable, a side-by-side comparison must be made between

the original and the copy to determine whether a layman would view the two

works as “substantially similar.’” 112 F.3d 814, 816 (5th Cir. 1997) (emphasis in

original). And in King v. Ames, the court stated “copying is an issue to be

determined by comparison of works, not credibility.” 179 F.3d 370, 376 (5th Cir.

1999).

             This Court believes Grande reads too much into this language and

these decisions. First, the three cases relied on by Grande are factually distinct

from the instant case. In Bridgmon and King, the only admitted evidence of

substantial similarity asserted by the plaintiffs was their own oral testimony of

similarity. See Bridgmon, 325 F.3d at 576; King, on Behalf of Estate of King v.

Ames, 1997 WL 327019, at *5–6 (N.D. Tex. June 4, 1997). This reliance purely

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on oral testimony is what King means by “copying is an issue to be determined by

comparison of works, not credibility.” 179 F.3d at 376. Bridgmon also expressly

quotes this language from King in explaining its conclusion. 325 F.3d at 577.

             Creations Unlimited involved an allegation that the defendant sold

t-shirts with images modelled off of a series of black and white drawings that the

plaintiff held copyrights in. 112 F.3d at 815. In that case, the Fifth Circuit upheld

a grant of summary judgment in favor of the defendant because a side-by-side

comparison revealed the defendant’s “tee-shirts differed from [Plaintiff’s] line

drawings in too many respects for a layman to conclude that the works were

substantially similar.” Id. at 816. In this case, the allegation is not that Grande’s

customers infringed Plaintiffs’ copyrights by creating substantially similar, but not

identical, derivative works, which might raise a question of substantial similarity

about which a side-by-side comparison might be probative. Instead, Plaintiffs are

asserting Grande’s customers infringed their copyrights by distributing exact

copies of works covered by Plaintiffs’ copyrights.

             But perhaps more importantly, these cases do not appear to stand for

the proposition that a side-by-side comparison of the original and allegedly

infringing works must be made in front of the jury, something that would prove

beyond impractical in a case of this sort. Nothing in these cases state or imply a

comparison must be made directly to a jury. Instead, there simply must be

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evidence, beyond mere oral testimony, resulting from such a comparison that

would permit a layman to view the two works as substantially similar. See

Bridgmon, 325 F.3d at 577 (“[T]he law of this circuit prohibits finding copyright

infringement without a side-by-side comparison of the works.”); Creations

Unlimited, Inc., 112 F.3d at 816 (“To determine whether an instance of copying is

legally actionable, a side-by-side comparison must be made between the original

and the copy to determine whether a layman would view the two works as

“substantially similar.’”)

             In this case, Plaintiffs’ evidence of substantial similarity comes in the

form of “audio fingerprinting” provided by a company called Audible Magic and a

similar matching process performed by Rightscorp. Audible Magic:

      scans the perceptual characteristics of a sound recording. The tool
      compares the characteristics of the sound recording to the content that
      has been registered in Audible Magic’s database (what Audible Magic
      calls its “Global Content Registry”). If the tool returns a “match”
      condition, that indicates that the sound recording contains copyrighted
      content that has been registered with Audible Magic. When Audible
      Magic returns a “match” condition, it includes information about the
      sound recording contained in the file, including the track title and artist
      name for the sound recording and the copyright owner of the matched
      content (as contained in its registry).

(Dkt. # 172-12 at 3.) And Rightscorp’s process:

      receives a list of copyright works (including artist and title information)
      from its customers, obtains .torrent files matching those named works,
      forensically scrubs these torrent files to confirm a digital match
      (discarding any file that does not match), manually checks the digital

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      match results, and only then monitors BitTorrent networks for
      infringement of these files.

(Dkt. # 173-79 at 3.)

             The ability of the Audible Magic software in particular to identify and

match files to copyrighted content has been widely recognized. See Capitol

Records, LLC v. Escape Media Grp., Inc., No. 12-CV-6646(AJN), 2015 WL

1402049, at *23 (S.D.N.Y. Mar. 25, 2015) (citing cases). Further, “Audible Magic

is a vendor that has been repeatedly used in entertainment copyright cases and

thus, its methods are well-known to those within the entertainment industry.”

UMG Recording, Inc. v. Escape Media Grp., Inc., No. 11 Civ. 8407, 2014 WL

5089743, *17 (S.D.N.Y. Sept. 29, 2014) (citing cases). “Audible Magic’s methods

of analysis are not a secret and have been relied upon in various similar copyright

litigations.” Id. In UMG, the court expressly stated that “plaintiffs established that

the infringing . . . uploads correspond to plaintiffs' copyrighted works” through a

process that “included enlisting Audible Magic to use industry-recognized

audio-fingerprinting technology to confirm that copies of certain files uploaded by

defendants and their employees corresponded to plaintiffs' copyrighted sound

recordings.” Id. at 20.

             Grande’s argument that the Audible Magic evidence is inadmissible as

hearsay is unpersuasive. Because Mr. Landis’s “knowledge and analysis were

derived from duties he [has] held at [the RIAA], his opinions [a]re admissible as
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testimony based upon personal knowledge and experience gained while employed

by [the RIAA].” United States v. Valencia, 600 F.3d 389, 416 (5th Cir. 2010) (lay

witness with personal knowledge of databases was permitted to provide testimony

about analysis using those databases). Further, the outputs from the Audible Magic

database generated by Mr. Landis are likely admissible against hearsay objections

as records of a regularly conducted business activity under Federal Rule of

Evidence 803(6). See id.; see also U-Haul Intern., Inc. v. Lumbermens Mut. Cas.

Co., 576 F.3d 1040, 1044–45 (9th Cir. 2009) (holding that a printout from a

computer database was admissible as business records, even where sponsoring

witness had not himself personally input the data into the database, where the

person had knowledge of its content and the databases owners’ practices for

compiling the data); Thanongsinh v. Bd. of Educ., 462 F.3d 762, 777 (7th Cir.

2006) (holding that the qualified witness “need only be familiar with the

company’s recordkeeping practices”).4


4
  Grande argues that the Rightscorp evidence is precluded by the best evidence rule
because “Rightscorp destroyed all records of its manual verification process,
including any records of the alleged “original” songs that were used for
comparison.” (Dkt. # 247 at 7; see also Dkt. # 252 at 29.) This argument is best
suited for the trial context. All that is required at the summary judgment stage is
that evidence be capable of presentation in an admissible form. See Fed. R. Civ. P.
56(c)(2). Moreover, even if the “original” evidence has been destroyed by the
proponent, other evidence of content is admissible unless the destruction was the
result of “the proponent acting in bad faith.” Fed. R. Evid. 1004. First, the alleged
destruction was done by Rightscorp, which is not a party to this action, not the

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             For these reasons, Plaintiffs’ evidence—in particular the Audible

Magic evidence—is sufficient to raise a genuine issue of material fact as to

substantial similarity. Summary judgment in favor of Grande on this issue is

therefore inappropriate.

             Finally, Grande’s argument that “Plaintiffs’ cannot demonstrate that

the [allegedly] disseminated material satisfies the ‘substantially similar’

requirement” because “BitTorrent operates by breaking a file into small pieces for

transmission, and any Internet user who may download an allegedly copyrighted

work would only take a small portion of any allegedly infringing work from a

particular Grande subscriber” finds no support in the case law. “It makes no

difference from a copyright perspective whether the infringing copy is created in a

single wholesale file transfer using a peer-to-peer protocol; or in a swarm of

fragmented transfers [using BitTorrent] that are eventually reassembled into the

new infringing copy.” Malibu Media, LLC v. Bui, No. 1:13-cv-162, 2014

WL 12469955, at *1 (W.D. Mich. July 21, 2014); see also Fung, 710 F.3d at 1034



Plaintiffs, who are the proponents of the evidence at summary judgment and would
be the proponents at trial. Second, Grande has presented no evidence that
Rightscorp destroyed these “originals” at the behest of Plaintiff. In fact, Grande’s
own motion for sanctions states that the RIAA, the trade group of Plaintiffs,
“requires the BitTorrent monitoring company working on behalf of Plaintiffs to
preserve all of this data as part of its copyright infringement evidence package.”
(Dkt. # 247 at 7.) Nor did Grande present any evidence or argument that the
originals were destroyed in bad faith. (See id.)

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(affirming grant of summary judgment to plaintiff where defendant uploaded

material to BitTorrent). Further, “it is enough if constituent parts of each work are

similar; the plaintiff is not required to show the whole of the infringing work is

similar to the whole of the copyrighted work.” Busti v. Platinum Studios, Inc.,

No. A-11-CA-1029-SS, 2013 WL 12121116, at *5 (W.D. Tex. Aug. 30, 2013);

see also Mattel, Inc. v. Azrak-Hamway Int’l, Inc., 724 F.2d 357, 360 (2d Cir. 1983)

(“[I]t is possible to infringe while copying only a part of a work….”).

                   iii.      Distribution

             Grande argues that summary judgment on distribution is proper

because a mere offer to share an infringing file is not actual distribution. Grande

relies primarily on Atlantic Recording Corp. v. Howell for the proposition that “[i]f

the owner of the shared folder simply provides a member of the public with access

to the work and the means to make an unauthorized copy, the owner is not liable as

a primary infringer of the distribution right, but rather is potentially liable as a

secondary infringer of the reproduction right.” 554 F. Supp. 2d 976, 986 (D. Ariz.

2008).

             However, to the extent Grande relies on Atlantic Recording for the

proposition that contributory infringement of the reproduction right is the only

viable theory against a party who makes infringing material available to the public,

that reliance is misplaced because Atlantic Recording appears to be contrary to the

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great weight of the case law, including decisions of other courts in this district. In

Warner Bros. Records, Inc. v. Payne, the court held that:

      the Supreme Court has equated the term with “publication,” which is
      defined under the Act. “Publication” includes “[t]he offering to
      distribute copies or phonorecords to a group of persons for purposes of
      further distribution, public performance, or public display.” Listing
      unauthorized copies of sound recordings using an online file-sharing
      system constitutes an offer to distribute those works, thereby violating
      a copyright owner's exclusive right of distribution.

No. W-06-CA-051, 2006 WL 2844415, at *3 (W.D. Tex. July 17, 2006). Similarly,

in another peer-to-peer copyright infringement case, the court “reject[ed]

Defendant’s argument that merely making copyrighted works available to the

public is not enough evidence for summary judgment purposes to establish

infringement.” Maverick Recording Co. v. Harper, No. 5:07-cv-026-XR, 2008

WL 11411855, at *3 (W.D. Tex. Sept. 16, 2008), aff’d in part and rev’d in part, 598

F.3d 193 (5th Cir. 2010) (holding that district court erred by denying plaintiffs’

motion for summary judgment on defendants’ “innocent infringer” defense). Other

district courts in other circuits have reached similar conclusions in analogous

circumstances. See, e.g., Universal Studios Prod., LLLP v. Bigwood, 441 F. Supp.

2d 185, 190 (D. Me. 2006) (“[B]y using [a peer-to-peer network] to make copies of

the [infringing materials] available to thousands of people over the internet,

Defendant violated Plaintiffs’ exclusive right to distribute . . . .”); Motown Record

Co., LP v. DePietro, No. 04-CV-2246, 2007 WL 576284, at *3 (E.D. Pa. Feb. 16,

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2007) (“A plaintiff claiming infringement of the exclusive-distribution right can

establish infringement by proof of actual distribution or by proof of offers to

distribute, that is, proof that the defendant ‘made available’ the copyrighted

work.”)

             Even the case most directly relied on by Grande, Atlantic Recording,

recognized that multiple courts “have held that the terms publication and

distribution are synonymous, so where a defendant’s act fulfills the definition of

‘publication’ provided by the statute, it also constitutes a ‘distribution’ under

§ 106(3).” 554 F. Supp. 2d at 984 (citing cases).

             Other courts have held that “[i]n order to establish ‘distribution’ of a

copyrighted work, a party must show that an unlawful copy was disseminated ‘to

the public.’” Hotaling v. Church of Jesus Christ of Latter-Day Saints, 118 F.3d

199, 203 (4th Cir.1997); see also National Car Rental System, Inc. v. Computer

Assocs. Intern., Inc., 991 F.2d 426, 434 (8th Cir. 1993) (“[I]nfringement of the

distribution right requires an actual dissemination of either copies or

phonorecords.”). But even under such a requirement, “direct proof of actual

dissemination is not required by the Copyright Act. Plaintiffs are free to employ

circumstantial evidence to attempt to prove actual dissemination.” Capitol

Records, Inc. v. Thomas, 579 F. Supp. 2d 1210, 1225 (D. Minn. 2008) (emphasis in

original).

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             Regardless of whether or not violation of the distribution right

requires actual dissemination instead of a mere offer to disseminate, Plaintiffs have

come forward with sufficient evidence to survive summary judgment. Plaintiffs

have presented evidence of hundreds of thousands of notices sent to Grande of

infringing material being made available by Grande’s customers for download and

evidence that Rightscorp downloaded over 59,000 full infringing files shared by

Grande customers.5 (Dkts. ## 173-78, Ex. H at 21; 173-79, Ex. I at 3–4; see also

172 at 13–14 (citing evidence).)

             The infringement notices provide evidence of offering to share under

a “making available” theory, and constitute circumstantial evidence of

dissemination if actual dissemination is required. Further, the audio files

Rightscorp downloaded from Grande subscribers are exactly the type of evidence

that courts have used to establish direct infringement under an “actual

dissemination” theory. See, e.g., BMG Rights Mgmt. (US) LLC v. Cox

Commc’ns, Inc., 199 F. Supp. 2d 958, 972, (E.D. Va. 2016), rev’d in part on other

grounds by BMG, 881 F.3d 293 (4th Cir. 2018) (“Courts have consistently relied

upon evidence of downloads by a plaintiff’s investigator to establish both



5
 Grande again reiterates its best evidence rule argument related to Rightscorp song
matching and downloading evidence. (See Dkt. # 252 at 34.) The Court has
already addressed this argument and found it unpersuasive. See FN 4, supra.

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unauthorized copying and distribution of a plaintiff’s work.”) (citing Arista

Records LLC v. Lime Grp. LLC, No. 06-cv-5936, 2011 WL 1641978, at *8

(S.D.N.Y Apr. 29, 2011) (citing cases)); Warner Bros. Records, Inc. v. Walker,

704 F. Supp. 2d 460, 467 (W.D. Pa. 2010) (“it is undisputed that MediaSentry [the

copyright holder’s investigator] downloaded actual copies of nine of the

Copyrighted Recordings from Defendant’s computer, establishing unauthorized

distribution as to those nine recordings.”).

             Finally, relying again on Atlantic Recording’s premise that making

infringing files available only implicates contributory secondary liability against

Grande’s customers, Grande argues any theory of liability against it invokes

tertiary liability, a premise which is not recognized in the law. (Dkt. # 140 at 12.)

However, for the reasons previously stated, the Court concludes a theory of direct

liability properly applies to Grande’s customers, either through making infringing

materials available, or through actual dissemination of infringing materials.

Therefore, by providing the services permitting their customers’ alleged direct

infringement, Grande is potentially liable as a secondary infringer.

                   iv.      Evidence of Direct Infringement with Respect to Each
                            Asserted Copyright

             Grande argues that Plaintiffs cannot show direct infringement with

respect to each asserted copyright. (Dkt. # 140 at 13.) However, as previously

discussed, the court concludes the Rightcorp notices and analysis and the Audible
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Magic analysis constitute sufficient evidence to raise a genuine issue of material

fact to survive summary judgment. The Rightscorp system receives a list of

copyrighted works, obtains infringing files allegedly matching those works,

forensically scrubs these torrent files to confirm a digital match, discards any

non-matching allegedly infringing files, manually checks the match results, and

then monitors BitTorrent Networks for infringement of these files. (Dkts. ## 173-

78 at 19–33; 173-79 at 3.) Further, the Audible Magic digital fingerprinting

technology “scans the perceptual characteristics of a sound recording[, . . .]

compares the characteristics of the sound recording to the content that has been

registered in Audible Magic’s database[, and i]f the tool returns a ‘match’

condition, that indicates that the sound recording contains copyrighted content that

has been registered with Audible Magic.” (Dkt. # 172-12, Ex. L at 3.) Plaintiffs

have also provided evidence that they “ran the mp3 audio files RIAA received

from Rightscorp through Audible Magic[, and] Audible Magic returned a “match”

condition for . . . the works . . . the Plaintiffs are suing over (the “works in suit”),

attached as Exhibit A to Plaintiffs’ Complaint.” (Id. at 4 (attaching as an exhibit “a

chart setting forth each work in suit listed in Exhibit A to the Complaint, along

with the corresponding .mp3 audio files that Rightscorp downloaded and the

“match” output files from Audible Magic.”).)




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              For these reasons, Grande is entitled to summary judgment as to direct

infringement by Grande’s customers of Plaintiffs’ rights to reproduction and public

performance. But there remain genuine issues of material fact as to direct

infringement by Grande’s Customers of Plaintiffs’ distribution right related to all of

the asserted copyrights. Summary judgment on this issue is therefore inappropriate

and denied.

              2.    Contributory Infringement

              After the Supreme Court’s decision is MGM Studios Inc. v. Grokster,

Ltd., liability for contributory infringement requires “intentionally inducing or

encouraging direct infringement.” 545 U.S. 913, 930 (2005) (citing Gershwin Pub.

Corp. v. Columbia Artists Management, Inc., 443 F.2d 1159, 1162 (2d Cir. 1971).

Grande argues it is entitled to summary judgment on this issue because: (1) there is

no evidence it induced the direct infringement committed by its customers; (2)

there is no recognized independent contributory liability theory of “material

contribution”; (3) that even if there is, there is no evidence Grande’s conduct

materially contributed to direct infringement; and (4) there is no evidence Grande

had actual knowledge of direct infringement by its customers. (Dkt. # 140 at

11–20.) However, for the following reasons, the Court disagrees with Grande’s

arguments.




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             Within the general rule of contributory liability announced by

Grokster, the Supreme Court has identified two categories of contributory liability:

“actively encouraging (or inducing) infringement through specific acts . . . or . . .

distributing a product distributees use to infringe copyrights, if the product is not

capable of ‘substantial’ or ‘commercially significant’ noninfringing uses.” 545

U.S. at 942 (Ginsberg, J., concurring). It is beyond dispute that the provision of

internet services to customers is capable of substantial and commercially

significant noninfringing uses. Contributory liability against Grande must

therefore be predicated on “actively encouraging (or inducing) infringement

through specific acts.” Id.

             In expositing these principles of contributory liability, the Grokster

Court expressly relied on those “doctrines of secondary liability [that] emerged

from common law principles and are well established at law.” Id. at 930. The

black letter expression of such contributory liability in the common law, directly

cited by the Grokster Court in regard to this point, is that “one who, with

knowledge of the infringing activity, induces, causes or materially contributes to

the infringing conduct of another, may be held liable as a ‘contributory’ infringer.”

Gershwin Pub. Corp., 443 F.2d at 1162.

             Grande’s assertion that a cause of action for “material contribution” to

copyright infringement is not recognized in the law is thus misplaced. The

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Grokster Court was clear that liability for contributory infringement was still to be

analyzed by reference to those “rules of fault-based liability derived from the

common law.” 545 U.S. at 934–35. Grokster’s expression that “[o]ne infringes

contributorily by intentionally inducing or encouraging direct infringement” should

not be taken as writing out of the law liability based on material contribution, but

instead stands as a simple restatement of the same principles of liability found in

Gershwin and elsewhere. Federal courts are generally in accord on this conclusion

that contributory liability for copyright infringment can be premised on material

contribution. See, e.g., Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1171

(9th Cir. 2007); Alcatel USA, Inc. v. DGI Techs, Inc., 166 F.3d 772, 790 5th Cir.

1999). Moreover, whether labeled “material contribution” or “inducement” or

anything else, Grokster recognized that “where evidence goes beyond a product’s

characteristics or the knowledge that it may be put to infringing uses, and shows

statements or actions directed to promoting infringement,” liability is authorized.

Grokster, 545 U.S. at 935.

             Under this articulation, liability may “be imposed for intentionally

encouraging infringement through specific acts.” Perfect 10, 508 F.3d at 1170.

The specific act in question here is the continued provision of internet services to

customers. Thus this is not a case of mere refusal to act. Grande acted




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affirmatively by continuing to sell internet services and continuing to provide

internet access to infringing customers.6

             However, “mere knowledge of infringing potential or of actual

infringing uses would not be enough here to subject a [product] distributor to

liability. Nor would ordinary acts incident to product distribution, such as offering

customers technical support or product updates, support liability in themselves.”

Grokster, 545 U.S. at 937. But such “mere knowledge” of “actual infringing uses”



6
  In this way, Grande’s reliance on Cobbler Nevada LLC v. Gonzales, 801 F.3d
1142 (2018), is misplaced. Cobbler Nevada involved an individual subscriber who
failed to prevent users of his internet subscription from infringing the plaintiff’s
copyright. Id. at 1146. Cobbler Nevada focused on the fact that it was an
individual internet subscriber at issue, who paid for internet services to an adult
care home he operated, in contrast to the actual ISP defendant in this case. Id. at
1145, 1149. But more importantly, in Cobbler Nevada there were “[n]o allegations
suggest[ing] the [defendant] made any clear expression or affirmative steps to
foster infringement.” Id. at 1148. Instead, the defendant’s “only action was his
failure to secure, police and protect the connection.” Id. Further, the evidence in
Cobbler Nevada indicated that after the defendant learned of the infringement, he
and his staff attempted to identify the infringer and instructed everyone living in
home to stop infringing. Id. at 1145 n.1. But the infringer was never identified.
Id. Cobbler Nevada, therefore, fits cleanly into the principle announced Grokster
that “mere knowledge . . . of actual infringing uses would not be enough here to
subject a [defendant] to liability.” 545 U.S. at 937. In this case in contrast, the
allegation is that Grande took affirmative steps to foster infringement by
continuing to provide internet service to specific customers about whom it had
actual knowledge of repeated infringement. This case, therefore, fits more
appropriately into a corollary principle announced in Grokster, that “where
evidence goes beyond . . . the knowledge that [a product or service] may be put to
infringing uses, and shows statements or actions directed to promoting
infringement,” liability may attach. Id. at 935.

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is limited to when the seller only has generalized knowledge that some of its users

are engaged in infringement. See BMG, 881 F.3d at 311. In contrast, “when a

person sells a product that has lawful uses, but with the knowledge that the buyer

will in fact use the product to infringe copyrights . . . the seller intends to cause

infringement.” Id. at 307 (emphasis in original). This conclusion flows from the

common law rule that if a person “knows that the consequences are certain, or

substantially certain, to result from his act, and still goes ahead, he is treated by the

law as if he has in fact desired to produce the result.” Restatement (Second) of

Torts § 8A cmt. b (1965); see also Grokster, 545 U.S. at 932 (holding that a person

“will be presumed to intend the natural and consequences of his acts”). Finally, it

is beyond debate that Grande’s continuing provision of internet services to

customers who engage in repeated copyright infringement substantially facilitates

access to and the distribution of infringing materials. See, e.g., Perfect 10, 508

F.3d at 1172.

             Distilling these principles into a rule of liability, service providers like

Grande “can be held contributorily liable if [they] ha[ve] actual knowledge7 that


7
  Willful blindness can also satisfy the requirement of actual knowledge.
Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766 (2011) (“[P]ersons
who know enough to blind themselves to direct proof of critical facts in effect have
actual knowledge of those facts.”); see also In re Aimster Copyright Litig., 334
F.3d 643, 650 (7th Cir. 2003) (“Willful blindness is knowledge, in copyright
law . . . as it is in the law generally.”)

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specific infringing material is available using its system, and can take simple

measures to prevent further damages to copyrighted works, yet continue[] to

provide access to infringing works.” Id. at 1172 (emphasis in original) (internal

citations and quotation marks omitted).

             Turning to the summary judgment evidence, it is clear that Grande has

at least one simple measure at its disposal—terminating the internet services of

repeat infringers—to prevent further damages to copyrighted works. It is also clear

that for the period in question, 2011 through 2016, Grande continued to provide

access to the infringing works by continuing to provide internet service to such

customers. (Dkt. # 127-7, Ex. G at 6.) The question therefore is whether Grande

had actual knowledge of specific infringement on the part of specific customers.

             The Court concludes that the summary judgment evidence is sufficient

to raise a genuine issue of material fact on that question. Between 2011 and 2016,

Grande received over a million copyright infringement notices, it was tracking

over 9,000 customers on its DMCA “Excessive Violations Report” by late 2016,

and it specifically tracked users by the number of notices it received about them.

(Dkts. ## 127-9, Ex. I at 5; 127-3, Ex. C at 9.) Further, in internal emails, Grande

employees recognized that “we have users who are racking up DMCA take down

requests” and that “some customers . . . are up to their 54th notice” (Dkt. # 127-22,




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Ex D). Grande is therefore not entitled to summary judgment on the issue of

contributory liability.

             3.     Willfulness

             A showing of willfulness under the Copyright Act tracks the common

law construction of the term. See Graper v. Mid-Continent Cas. Co., 756 F.3d 388,

395 & n. 7 (5th Cir. 2014) (citing Safeco Ins. Co. of America v. Burr, 551 U.S. 47,

58 (2007)). Willfulness thus requires a showing that Grande knew its conduct

constituted contributory copyright infringement or acted with reckless disregard of

Plaintiffs’ rights as copyright holders. Id. There is evidence in the record—

previously discussed—that Grande: (1) was aware of subscriber’s infringing

conduct; (2) decided not to cut of services to any customers, regardless of their

conduct; (3) discussed this conscious decision in internal emails; and (4) profited

from continuing to provide service to those subscribers. (See Dkt. # 172 at 33; see

also Discussion Section I, supra.) This evidence is sufficient to raise a genuine

issue of material fact that Grande acted knowingly or recklessly, so as to constitute

legally willful conduct. Summary judgment in favor of Grande is therefore not

appropriate on this issue.

             4.     Discovery Rule

             Under 17 U.S.C. § 507(b), a three-year statute of limitations applies to

claims of copyright infringement. Plaintiffs in this case seek to extend that

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limitations period by invocation of the discovery rule. (See Dkt. # 172 at 34.)

“The discovery rule tolls the operation of a [statute of limitations] until the point in

time in which the plaintiff learned or by reasonable diligence could have learned

that it had a cause of action.” Edmark Industries SDN. BHD. v. South Asia

International (H.K.) Ltd., 89 F. Supp 2d 840, 842–43 (E.D. Tex. 2000).

             “[T]he discovery rule need not be specifically pleaded in federal

court.” TIG Ins. Co. v. Aon Re, Inc., 521 F.3d 351, 357 (5th Cir. 2008). Instead,

“[u]nder Rule 8 of the Federal Rules of Civil Procedure, it is enough that the

plaintiff plead sufficient facts to put the defense on notice of the theories on which

the complaint is based.” Id. In this case, the facts pleaded by Plaintiffs were

sufficient to put Grande on notice. Among other facts, Plaintiffs pleaded that their

claims were: (1) based on notices Grande received from Rightscorp; (2) Grande

had been informed of more than one million infringements; and (3) Grande ignored

the infringement notices and refused to take action—including termination of

service—against users who repeated infringed Plaintiffs copyrights. (Dkt. # 1 at

11–13.)

             The summary judgment evidence indicates that Grande received 1.2

million notices of infringement, including from Rightscorp, between 2011 and

2016 (Dkt. # 127-7, Ex. G at 10) and that Grande refused to terminate any

subscribers between October 2010 and May 2017 (Dkt. # 127-7, Ex. G at 6). Since

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Grande was aware of when it received such a volume of notices, and over what

time period it failed or refused to terminate any subscribers or take any action

based on such notices, Plaintiffs’ pleading of such facts are sufficient to put Grande

on notice that Plaintiffs were asserting claims based on conduct dating back to

2010 and thus that Plaintiffs’ might assert that the discovery rule applied. See TIG

Ins. Co., 521 F.3d at 357 (“Under Rule 8 of the Federal Rules of Civil Procedure, it

is enough that the plaintiff plead sufficient facts to put the defense on notice of the

theories on which the complaint is based.”)

             Further, Plaintiffs’ produced evidence that they did not learn of

Grande’s infringements until January 2016, when Rightscorp approached the RIAA

with evidence of Grande’s customers’ infringements. (Dkt. # 136 at 16.) In

response, Grande presented evidence that Rightscorp marketed its services to

Plaintiff Sony in 2012 and that Plaintiff UMG had meetings related to Rightscorp

in late 2011. (Dkts. ## 201-5, 201-4.) However, the witness testimony on this

issue is vague and does not indicate conclusively that Plaintiffs’ were made aware

of infringement on Grande’s network through these meetings. (See id.) This

evidence also says nothing about Plaintiffs’ knowledge of Grande’s policy of

refusal to take action in the face of such infringement by its customers, which is

central to Plaintiffs’ contributory liability theory against Grande. The evidence

before the Court thus raises a genuine issue of material fact as to when Plaintiffs

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became aware, or through reasonable diligence could have become aware, of a

cause of action against Grande for contributory liability. Therefore, Grande is not

entitled to summary judgment on the issue of the application of the discovery rule.

             5.     Damages

             17 U.S.C. § 504 provides in the alternative—as damages for copyright

infringement—either the copyright owner’s actual damages and disgorgement of

profits of the infringer attributable to the infringement, or statutory damages.

17 U.S.C. § 504(a)–(c). A copyright owner is permitted to elect, at any time before

final judgment, which of these forms of damages it would prefer to recover.

17 U.S.C. § 504(c)(1). Grande moved for summary judgment as to actual damages

and disgorgement. (Dkt. # 140 at 22.) Plaintiffs stated in their response that they

do not intend to seek their lost profits as damages, mooting that issue as to

Grande’s motion. (Dkt. # 172 at 35.)

             In order to be entitled to disgorgement of profits under § 504(b), “a

copyright holder must show more than an infringer’s total gross revenue from all

of its profit streams.” MGE UPS Sys., Inc. v. GE Consumer & Indus., Inc., 622

F.3d 361, 367 (5th Cir. 2010) (emphasis in original). Instead, the copyright holder

must come forward with evidence of revenues “reasonably related to the

infringement.” Id. (emphasis in original).




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             To prove disgorgement damages, Plaintiffs rely on two expert reports.

(See Dkts. ## 173-74, 173-81.) The Bardwell report applies probability analysis to

the infringement data collected by Rightscorp to determine the probability that

sequential infringements—including of the copyrights asserted in this case—are

attributable to individual Grande subscribers. (Dkt. # 173-81 at 6.) The Lehr

report estimates Grande’s average monthly gross margin per customer, for all

services a customer purchases from Grande, which can include voice and

television services, in addition to high-speed internet. (Dkt. # 173-74 at 13–15.)

The Lehr report also estimates the average tenure for a Grande subscriber. (Id. at

15.) Taking these two numbers together, and after accounting for net present value,

the Lehr report arrives at an estimated lifetime net present value to Grande per

subscriber. (Id. at 16.) The report also derives an alternative net present value

amount per customer based on the price paid by TPG Capital to acquire Grande in

2017, and what it implies about the expected value per customer TPG had formed

in paying that price. (Id.) The Court concludes this evidence is sufficient to raise a

genuine issue of material fact about Grande’s revenues reasonably related to

infringing customers to defeat summary judgment on this issue.8


8
  Grande’s objections to the sufficiency of this evidence are not persuasive. (See
Dkt. # 252 at 38.) “Gross revenue” under 17 U.S.C. § 504(b) “refers only to
revenue reasonably related to the infringement.” MGE UPS Sys., Inc., 622 F.3d at
367. While the calculations in the Lehr report are not limited to the specific

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             6.    Copyright Ownership

             In order to prove copyright infringement, one of the things a plaintiff

must prove is ownership of the asserted copyright. BWP Media USA, Inc., 852

F.3d at 439. To establish ownership, a “plaintiff must prove that the material is

original, that it can be copyrighted, and that he has complied with statutory

formalities.” Lakedreams v. Taylor, 932 F.3d 1103, 1108 (5th Cir. 1991). The




customers who allegedly infringed the copyrights asserted in this case, requiring
such an exacting and specified showing would go far beyond the requirement of
merely showing a “reasonable relationship.” The average value Grande receives
from any given customer is certainly reasonably related to the value Grande
received from a specific infringing customer. Grande receives more value from
some customers and less value from others, and this includes infringing customers.
Without some showing that infringing customers are somehow different or unique
in their purchase patterns from noninfringing customers, an average value for all
customers is certainly sufficient to reasonably demonstrate the average value
received by Grande from infringing customers. Further, the argument that Dr.
Lehr’s calculations assume that every customer accused of infringement would
have otherwise never become a customer in the first place misstates the question.
Whether they would or would not have become a customer is beside the point. The
fact is that they did become customers, and Grande received revenues from their
being and continuing to be customers. Finally, that the lifetime value includes
revenues from unrelated services like phones and cable TV is similarly beside the
point. The fact is that Grande received that revenue from those allegedly
infringing customers. That revenue would therefore be reasonably related to
Grande’s asserted contributory liability in not terminating the service of such
customers. If Grande had terminated the internet service of those customers, it is
reasonable to conclude they would have found a new service provider, for all
services purchased from Grande, and Grande would have lost all revenues from
such customers, including those not directly derived from the provision of internet
services.

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requisite statutory formalities are receipt of the application for registration, fee, and

deposit by the copyright office. Id.

             Grande argued in its motion for summary judgment that of the 782

unique registered copyrights listed by Plaintiffs as at issue in this case, Plaintiffs’

evidence only demonstrated that they are the owners of 421 of the copyrights.

(Dkt. # 140 at 23.) Grande thus argued it was entitled to partial summary judgment

as to the remaining 361 unique copyrights at issue. (Id.) Plaintiffs responded with

declarations from executives employed by each Plaintiff, with voluminous

attachments, that they claim proves their ownership of these 361 copyrights. (See,

e.g., Dkts. ## 173-2 to 173-47; 173-48 to 173-73; 180-1 to 180-31.) Such sworn

affidavits—when uncontroverted—are generally sufficient to prove ownership.

See, e.g., Sony BMG Music Entertainment v. Cuellar, No. CC-07-58, 2008 WL

11398942, at *1 (S.D. Tex. July 24, 2008) (“[P]laintiffs have provided sworn

affidavits from their respective in-house counsels confirming that they are owners

or licensees of valid copyrights. Defendant has not provided evidence to contradict

plaintiffs’ sworn statements, and accordingly the Court finds no issue of fact

regarding plaintiffs' ownership of the copyrights.”).

             Grande did not challenge the validity of this evidence on the merits,

but instead requested in a motion for sanctions that it should be excluded as

untimely because it was produced after discovery. (See Dkt. # 156.) In the

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Liability Report, the Magistrate Judge denied Grande’s motion for sanctions

pursuant to his authority under 28 U.S.C. § 636(b)(1)(A). Grande has objected to

this decision of the Magistrate Judge. (Dkt. # 252 at 38–40.) The Court reviews

such orders of the Magistrate Judge on non-dispositive pretrial matters for clear

error. 28 U.S.C. § 636(b)(1)(A); see also Fed. R. Civ. P. 72(a). The clear error

standard precludes modifying or setting aside the Magistrates Judge’s order unless

this Court is “left with the definite and firm conviction that a mistake has been

committed.” Jauch v. Nautical Services, Inc., 470 F.3d 207, 213 (5th Cir. 2006)

(quoting Anderson v. City of Bessemer, 470 U.S. 564, 573 (1985).

             Under Federal Rule of Civil Procedure 37(c)(1), failure to timely

disclose evidence allows exclusion of that evidence “unless the failure was

substantially justified or is harmless.” Plaintiffs’ presented arguments that these

disclosures were not in fact untimely. (Dkt. # 179 at 6–7.) But in any event, even if

they were, such untimeliness was harmless because: (1) the evidence is

fundamental to Plaintiffs claim; (2) Grande will suffer no demonstrable prejudice

from permitting it; (3) the trial date in this case has been vacated and a new trial

date has not yet been set; and (4) there is no evidence of willful misconduct or bad

faith. See Texas A&M Research Found. v. Magna Transp., Inc., 338 F.3d 394, 402

(5th Cir. 2003) (“In evaluating whether a violation of rule 26 is harmless, . . .

[courts are to] look to four factors: (1) the importance of the evidence; (2) the

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prejudice to the opposing party of including the evidence; (3) the possibility of

curing such prejudice by granting a continuance; and (4) the explanation for the

party's failure to disclose.”) (See also Dkt. # 179 at 7–11.) Moreover, Rule 37(c)

permits—but does not require—exclusion of evidence untimely disclosed. Fed. R.

Civ. P. 37(c) (describing alternative sanctions that can be imposed “[i]n addition to

or instead of” exclusion).

             For these reasons, the Court is not “left with the definite and firm

conviction that a mistake has been committed” by the Magistrate Judge in denying

Grande’s motion for sanctions. The order was therefore not clearly erroneous and

will not be modified or set aside.

             Grande’s argument regarding ownership is dependent on the Court

striking this supplemental evidence. (See Dkt. # 252 at 38–40.) If allowed—as the

Court concludes it should be—such evidence is sufficient to prove ownership. See

Sony BMG Music Entertainment, 2008 WL 11398942 at *1. Therefore, Grande is

not entitled to summary judgment on this issue.

             Thus, the Court ADOPTS the Liability Report with respect to

Grande’s Motion for Summary Judgment (Dkt. # 140) and Motion for Sanctions

(Dkt. # 156). Grande’s Motion for Summary Judgment is GRANTED IN PART

AND DENIED IN PART. It is GRANTED as to infringement of the rights of




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reproduction and public performance, and DENIED in all other respects. (Dkt.

# 140.) Grande’s Motion for Sanctions is DENIED. (Dkt. # 156.)

      B.     Plaintiffs’ Motion for Summary Judgment

             Plaintiffs also moved for summary judgment as to liability for

contributory infringement on essentially the same evidence discussed in relation to

Grande’s motion for summary Judgment. (Dkt. # 172). The Liability Report

recommended denying this motion for the same reasons it recommended Grande’s

motion be denied on that issue. Plaintiffs object to this recommendation. (Dkt.

# 250 at 6.) Because the Court has concluded that genuine issues of material fact

exist as to Grande’s customers’ direct liability, (See Discussion Section II.A, supra)

and contributory liability cannot exist in the absence of direct liability, A&M

Records, Inc., 239 F.3d at 1013 n.2, Plaintiffs are not entitled to summary judgment

as to Grande’s liability for contributory infringement. Plaintiffs are also not

entitled to summary judgment because genuine issues of material fact exist as to

Grande’s actual knowledge of specific instances of direct infringement committed

by specific customers. (See Discussion Section II.B, supra.)

             Therefore, the Court ADOPTS the Liability Report with respect to

Plaintiffs’ Motion for Summary Judgment. (Dkt. # 240.) Plaintiffs’ motion is

DENIED. (Dkt. # 172.)




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                                  CONCLUSION

             For the reasons stated, the Court ADOPTS the Safe Harbor Report

and the Liability Report. (Dkts. ## 240, 241.) Plaintiffs’ Motion for Partial

Summary Judgment as to Grande’s DMCA safe harbor defense is GRANTED.

(Dkt. # 127.) Grande’s Motion for Summary Judgment is GRANTED IN PART

AND DENIED IN PART. (Dkt. # 140.) It is GRANTED as to infringement of

the rights of reproduction and public performance and DENIED in all other

respects. (Id.) Grande’s Motion for Sanctions is DENIED. (Dkt. # 156.)

Plaintiffs’ Motion for Summary Judgment as to Liability is DENIED. (Dkt.

# 172.)

      IT IS SO ORDERED.

      DATED: Austin, Texas, March 15, 2019.




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